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                       THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:19-cv-00872-MEH

 CHASE MANUFACTURING, INC., d/b/a
 THERMAL PIPE SHIELDS,

 Plaintiff,

 v.

 JOHNS MANVILLE CORPORATION,

 Defendant.



              JOHNS MANVILLE’S MOTION FOR SUMMARY JUDGMENT
                     DISMISSING ALL PLAINTIFF’S CLAIMS




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                                       I.    INTRODUCTION

        Plaintiff Thermal Pipe Shields (“TPS”) filed this lawsuit alleging its competitor, Johns

 Manville prevented TPS from selling calcium silicate insulation in the United States. But after

 two and a half years of costly discovery, TPS has zero evidence of unlawful, anticompetitive

 conduct. The evidence, instead, demonstrates legitimate and robust competition for sales of calsil

 and other industrial insulation materials in the United States. The evidence also demonstrates that

 TPS obtained access to distribution to sell its calsil, but that its own business strategies and BEC’s

 lack of an operating calsil factory in China during 2021 hindered such sales.

        The three main groups of exhibits accompanying this motion demonstrate that TPS cannot

 prove its claims with: 1) internal TPS communications that report or repeat inadmissible hearsay;

 2) seven Johns Manville documents that do not prove unlawful actions; and 3) deposition

 testimony that undercuts TPS’s claims.

        The bottom line is that Johns Manville did not engage in any illegal, anticompetitive

 conduct. Federal antitrust laws do not require Johns Manville to assist a new competitor to gain a

 foothold in any market. To the contrary, these laws ensure fair but vigorous competition. When

 TPS started selling calsil in the United States in 2018, Johns Manville responded in a manner

 consistent with those laws. Johns Manville has now produced more than 100,000 pages of

 documents in this litigation, and six of its current or former employees testified at depositions.

 None of the documents or testimony indicates Johns Manville engaged in unlawful conduct.

        TPS’s allegations focus on its access to insulation distributors and alleged “threats” made

 to distributors. TPS received documents from four distributors, and deposed two distributor-

 representatives. The scant third-party evidence TPS collected fails to support the allegations in

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  TPS’s Amended Complaint. Many distributors have been selling TPS calsil and TPS cannot prove

  its claims despite essentially unlimited discovery from Johns Manville and nonparties.

         The time has come to call TPS’s bluff. This litigation should not proceed to trial when

  TPS lacks admissible evidence to prove key elements for each of its three claims.

         Tying. TPS’s Amended Complaint alleged Johns Manville “tied” sales of fiberglass pipe

  insulation and expanded perlite to sales of calsil. Not a single document or deposition has

  substantiated these allegations. In fact, in response to an interrogatory asking TPS to point to

  specific evidence supporting any alleged “tie,” TPS admitted no evidence shows any attempt to tie

  sales of either fiberglass pipe insulation or expanded perlite to sales of calsil. Instead, TPS changed

  its claim to argue Johns Manville tied sales of “any/all of its products” or “any product other than

  calsil” to sales of calsil. But TPS still lacks evidence of such a tie, and a tying claim requires two

  distinct and separate products. In addition, TPS made no effort to quantify Johns Manville’s

  alleged market power in some tying product markets.

         False Advertising. TPS’s false advertising claim under the Lanham Act fails for at least

  four reasons. First, TPS lacks any admissible evidence indicating that Johns Manville made

  actionable false or disparaging comments. Second, the statements that TPS contends were false

  or misleading are not actionable under the Lanham Act. Third, TPS’s allegations of false and

  disparaging statements still hinge on a few, sporadic disparaging comments, which does not

  constitute commercial advertising or promotion under the Lanham Act. And fourth, TPS has no

  evidence that any customer refused to purchase its calsil due to the alleged disparaging comments

  by TPS.



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          Monopolization. TPS similarly lacks admissible evidence to prove unlawful exclusionary

  conduct necessary to sustain its monopolization claim. It alleged four categories of exclusionary

  conduct: tying, “refusal to supply,” exclusive dealing, and trade disparagement. It cannot point to

  any evidence of Johns Manville tying sales of fiberglass pipe insulation or expanded perlite to

  sales of calsil. TPS’s tortured “refusal to supply” allegations do not meet the narrow exception in

  Aspen Highlands/Trinko to pursue a “refusal to deal” claim. Nor can TPS point to evidence

  showing Johns Manville ever cut off sales to distributors that purchased calsil from TPS. There is

  also no evidence that Johns Manville entered into any express or implied exclusive dealing

  arrangements with distributors. And TPS’s purported evidence of disparagement fails to overcome

  the de minimis presumption that disparaging comments do not impact competition. With no

  evidence to prove exclusionary conduct, TPS’s monopolization claim should be dismissed.

          Antitrust injury. Finally, TPS also lacks evidence of any actual long-term harm to

  competition, which is necessary to prove the essential element of antitrust injury.

          TPS cannot prove its claims with unsubstantiated allegations and inadmissible hearsay.

  Accordingly, the Court should grant summary judgment dismissing each of TPS’s claims.

                            II.   STATEMENT OF UNDISPUTED FACTS

          Under D.C. Colo. LCivR 56.1 and Section III.F of Judge Hegarty’s Civil Practice

  Standards, Johns Manville provides the following Statement of Undisputed Facts.

      A. Tying

          1.       There is no admissible evidence that Johns Manville tied sales of its expanded

  perlite to sales of calsil.



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          Supporting Evidence: Ex. 1-A: Plaintiff’s Second Supp. Responses and Objections to

  Defendant’s Interrog. Nos. 8-10, 13, 18 and 21-22, at 8–9 (hereinafter “TPS’s 2d. Supp. Resp.”);

  see also Ex. 3-H: Johns Manville 30(b)(6) Depo. [Skelly] 229:16–230:10.

          2.      There is no admissible evidence that Johns Manville tied sales of its fiberglass pipe

  insulation to sales of calsil.

          Supporting Evidence: Ex. 1-A. TPS’s 2d. Supp. Resp., at 8–9; see also Ex. 3-H. Johns

  Manville 30(b)(6) Depo. [Skelly] 230:11–231:5.

          3.      There is no admissible evidence that Johns Manville tied sales of any or all of its

  insulation materials other than calsil to sales of calsil.

          Supporting Evidence: Ex. 1-A: TPS’s 2d. Supp. Resp., at 8–9; Ex. 1-B: Chart.

          4.      TPS did not disclose expert opinions purporting to quantify Johns Manville’s

  alleged market power in the alleged tying products: expanded perlite, fiberglass pipe insulation,

  or any and all of Johns Manville’s insulation materials other than calsil.

          Supporting Evidence: TPS did not timely disclose expert opinions that establish Johns

  Manville’s alleged market power for either expanded perlite, fiberglass pipe insulation, or any/all

  of Johns Manville’s insulation materials other than calsil. TPS’s retained expert, Warren-Boulton,

  did not engage in the economic analysis necessary to define a relevant market for expanded perlite

  or fiberglass pipe insulation, much less market power within a properly defined market, contending

  that task is unnecessary for his “direct evidence” shortcut. ECF 136 at 19 (“This is no need,

  however, to establish that any of these must-have products is a relevant market . . . .”).




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         5.      Robert Hlavenka, Senior Vice President of Strategic Sourcing of Distribution

  International (“DI”), testified that Johns Manville did not threaten to refuse to sell either expanded

  perlite or fiberglass pipe insulation to DI.

         Supporting Evidence: Mr. Hlavenka was asked whether Johns Manville ever threatened to

  refuse to sell perlite to DI and he responded “[n]o.” Ex. 3-C: Hlavenka Depo. 85:25–86:16. Mr.

  Hlavenka was asked whether Johns Manville ever threatened to not sell fiberglass pipe insulation

  to DI, and he responded “[n]o, it never did.” Id. at 90:23–91:13.

         6.      Joe Guest, regional sales manager for 4-State Supply (“4-State”) based at its Omaha

  warehouse, testified that 4-State tries to stock calsil at its Omaha warehouse, not Wichita; and 4-

  State did not buy either Johns Manville’s expanded perlite or fiberglass pipe insulation; instead 4-

  State’s main supplier for fiberglass pipe insulation is Knauf, and its suppliers for expanded perlite

  have been TPS and SMC.

         Supporting Evidence: Ex. 3-A: Guest Depo. 14:9–16, 26:3–10, 27:21–23, 36:25–37:12,

  87:7–13, 142:4–143:15, 217:7–9.

         7.      There is no admissible evidence that Johns Manville threatened to not sell its calsil

  to Specialty Products & Insulation (“SPI”) locations that purchased TPS’s calsil.

         Supporting Evidence: TPS relies on hearsay about what it was supposedly told by Kyle

  Romney of SPI. There is no deposition testimony establishing that this threat occurred. TPS did

  not depose Mr. Romney or anyone from SPI. The documents that TPS cites as proving this

  incident occurred are inadmissible hearsay. See Ex. 1-B: Chart (citing TPS_0011469) .




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         8.      There is no admissible evidence that “an unidentified JM representative(s)” told

  General Insulation that Johns Manville would not sell General Insulation its calsil if General

  Insulation purchased TPS’s calsil. Ex. 1-A: TPS’s 2d. Supp. Resp., at 10–11.

         Supporting Evidence: TPS relies on hearsay about what it was supposedly told by Richard

  Goupille from Rand Construction about what he heard from Curtis Marmaduke from General

  Insulation. See id. There is no deposition testimony establishing that this incident occurred. TPS

  did not depose either Mr. Goupille or Mr. Marmaduke, or anyone from either Rand Construction

  or General Insulation. The documents that TPS cites as proving this incident occurred are either

  inadmissible hearsay or do not mention this alleged incident and therefore are not relevant. See

  Ex. 1-B: Chart (citing TPS_FTC_0000108 and TPS_0031748 through -0031773).

     B. False Advertising / Disparagement

         9.      TPSX-12 calcium silicate is manufactured by BEC Industrial (Shanghai) Co., Ltd.,

  a Chinese company that manufactured calsil in its factory in Shanghai, China until early 2021

  when the factory was permanently closed. BEC’s replacement calsil factory was not completed

  until December 30, 2021 at the earliest.

         Supporting Evidence: Ex. 3-E.i: Depo. Ex. 6 (TPSX-12 Launch Announcement); Ex. 3-F:

  TPS 30(b)(6) [Shong] Depo. 26:3–11, 95:25–96:3; Ex. 4-B.i: New BEC Calsil Factory Now Open,

  http://calsil-insulation.com/new-bec-calsil-factory-now-open/ (Dec. 30, 2021).

         10.     Four of the five alleged instances of “false advertising” or disparagement identified

  in TPS’s Supplemental Interrogatory Responses concern statements purportedly made to

  representatives from APi; and there is no admissible evidence that proves these four alleged

  instances occurred.

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         Supporting Evidence: The documents that TPS cites as proving this incident occurred are

  either inadmissible hearsay or do not mention this alleged incident and therefore are not relevant.

  Ex. 1-A: TPS’s 2d. Supp. Resp., at 5–6; Ex. 1-B: Chart. There is no deposition testimony

  establishing that this incident occurred. TPS did not depose anyone from APi.

         11.     4-State’s representative, Mr. Guest, did not report hearing any disparaging

  comments about TPS calsil from Johns Manville representatives.

         Supporting Evidence: Mr. Guest (4-State) testified that Mr. Meyer did not make “any

  comments about TPS’s product,” “suggest the quality of TPS’s Calsil was inferior,” or “that TPS

  Calsil may contain asbestos;” and Mr. Guest did not hear concerns about “Chinese materials

  specifically” from customers. Ex. 3-A: Guest Depo. 44:11–25.

         12.     Mr. Meyer testified that, at the MICA trade show in 2018, he suggested Mr. Guest

  confirm that the calsil 4-State purchases meets ASTM specifications.

         Supporting Evidence: Ex. 3-D: Meyer Depo. 133:1–138:10.

         13.     TPS conducted independent testing of TPSX-12, the calsil it purchases from BEC,

  to assess compliance with the ASTM standards.           TPS also conducted independent testing

  comparing TPSX-12 to Johns Manville’s calsil, Thermo-1200. TPS prepared data sheets with

  these results to distribute to prospective customers.

         Supporting Evidence: Ex. 3-F.1: Depo. Ex. 127 (TPSX-12 Data Sheet); Ex. 4-B-ii & B-iii.

         14.     TPS provided customers and prospective customers copies of independent testing

  data and ASTM data for its TPSX-12 calsil including to address potential concerns about asbestos.

         Supporting Evidence: Ex. 3-E: Revesz Depo. 194:11–197:14; Ex. 3-F: TPS Rule 30(b)(6)

  [D. Shong] Depo. 241:15–242:3; Ex. 3-C: Hlavenka Depo. 82:6–13.

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         15.     Before TPS’s owner, Jeff Heckman, began importing calsil from BEC in 2018, he

  wanted to see test results confirming the amount of silica BEC’s calsil manufactured in China

  because he knew the silica test was important for the calsil to meet Occupational Safety and Health

  Administration (“OSHA”) safety standards in the United States arising from concerns about calsil

  dust workers could inhale.

         Supporting Evidence: Ex. 3-B: Heckman Depo. 225:18–227:2.

         16.     Mr. Hlavenka of DI testified that Hal Shapiro of Johns Manville told him that the

  amount of free silica in TPS’s calsil could be an issue, that Mr. Shong sent him copies of TPS’s

  “spec sheets showing that it met all the ASTMs and everything else,” and that DI went ahead and

  purchased TPS calsil.

         Supporting Evidence: Ex. 3-C: Hlavenka Depo. 41:9–24, 42:15–25, 72:8–73:19.

     C. Refusal to Supply

         17.     Johns Manville does not support every branch or geographic location of every

  distributor it works with, typically because Johns Manville already works with one or more

  distributor in the geographic area, or the distributor does not promote Johns Manville materials.

         Supporting Evidence: Ex. 3-H: Johns Manville 30(b)(6) [Skelly] Depo. 185:18–186:6,

  226:22–228:19.

         18.     4-State has three warehouse locations: (1) Omaha, Nebraska; (2) Lenexa, Kansas;

  and (3) Wichita, Kansas, and primarily purchases and stocks calsil in its Omaha, Nebraska

  location.

         Supporting Evidence: Ex. 3-A: Guest Depo. 16:6–13, 191:16–25, 196:17–20, 205:23–25,

  217:7–9.

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         19.     From 2018 to the present, 4-State has been able to purchase calsil from Johns

  Manville without interruption, while also purchasing from TPS during that time, although Johns

  Manville ships purchases for 4-State’s Wichita warehouse to 4-State’s Lenexa location because it

  already has other distributors in Wichita, and compensates 4-State for the extra shipping cost.

         Supporting Evidence: Ex. 3-A: Guest Depo. 40:2–41:4, 154:15–20, 216:18–218:18.

         20.     There is no admissible evidence proving that Johns Manville refused to supply

  calsil or any other products to DI for anticompetitive reasons.

         Supporting Evidence: Ex. 3-C: Hlavenka Depo. 85:25–86:16, 90:23–91:13, 92:4–22; see

  also Ex. 3-H: Johns Manville 30(b)(6) [Skelly] Depo. 184:23–186:6.

         21.     There is no admissible evidence proving that Johns Manville refused to supply

  calsil or any other products to SPI, Bay, MacArthur, General Insulation, APi, or Metro Supply for

  anticompetitive reasons.

         Supporting Evidence: TPS did not depose any representatives from SPI, Bay, MacArthur,

  General Insulation, or APi. There is no admissible documentary evidence proving that Johns

  Manville refused to supply calsil or other products to SPI, Bay, MacArthur, General Insulation,

  APi, or Metro Supply. See Ex. 1-B: Chart; see also Ex. 3-H: Johns Manville 30(b)(6) [Skelly]

  Depo. 184:23–186:6; Ex. 3-G: Skelly Depo. 99:11–101:6.

     D. Exclusive Dealing

         22.     Johns Manville did not enter into any written contracts for an exclusive dealing

  arrangement with any of its distributor customers.

         Supporting Evidence: Ex. 4-A: Declaration of David C. Skelly of Johns Manville.



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          23.     There is no admissible evidence that Johns Manville had implied exclusive dealing

  arrangements with any distributor-customers, or that it required its distributor-customers to only

  purchase its calsil.

          Supporting Evidence: See infra SUF ¶ 27 (TPS “Prima Facie Case” Documents).

          24.     There is no admissible evidence proving that a substantial portion of the industry

  was foreclosed from TPS due to any alleged exclusive dealing arrangements.

          Supporting Evidence: TPS’s retained economist (Warren-Boulton) did not do the

  economic analysis necessary to analyze this question. ECF 135 at 23–26.

          25.     TPS’s “go-to-market” strategy consisted of inviting five distributors, DI, SPI, Bay

  Insulation, MacArthur, and General Insulation, to enter into exclusive partnerships.

          Supporting Evidence: Ex. 3-E.i: Depo. Ex. 6 (TPSX-12 Product Launch Announcement).

          26.     TPS’s corporate representative and President, David Shong, admitted that the “go-

  to-market” strategy in hindsight was “a little bit naïve,” and that by the April 16, 2018 deadline

  listed in the product launch announcement, only one of the five distributors agreed to an exclusive

  territory with TPS—Bay signed up for the two territories in California, so TPS moved to the second

  step of its strategy.

          Supporting Evidence: Ex. 3-F: TPS Rule 30(b)(6) [Shong] Depo. at 273:22–24, 282:7–25.

  Mr. Hlavenka (DI) testified that the level of customer interest in TPS’s calsil was “moderate” in

  part because it was “a new product” and it takes time to get customer acceptance. Ex. 3-C:

  Hlavenka Depo. 82:23–83:20.




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  E.     Seven Documents Purporting to Establish TPS’s Prima Facie Case

         27.     The seven Johns Manville documents TPS identified as providing proof of Johns

  Manville either “taking” or “threatening” adverse action against TPS customers or potential

  customers, viewed in the light most favorable to TPS, do not provide prima facie evidence

  necessary for TPS to prove either unlawful exclusive dealing or an unlawful “refusal to supply.”

         Supporting Evidence: In both its economist’s 9/27/21 Report and with its response

  opposing Johns Manville’s Daubert motion, TPS identified a set of 7 Johns Manville documents

  that it contends are sufficient to prove Johns Manville either took or threatened unlawful “adverse

  action” against TPS customers or potential customers (the “TPS Prima Facie Case” documents).

  See ECF 136 at 19 & nn. 33–39 (Warren-Boulton Report listing documents JM-3324, -28748, -

  1451, -3503, 11469, -34501, -18081 as evidence TPS will present at trial of “Johns Manville’s

  taking adverse action against customers who did business with” TPS or “threatening adverse action

  against those who contemplated doing business with” TPS); see also Pl. Ex. 17–23 opposing

  Daubert motion, ECF 166 to 172 ([JM-3324 [Ex.17], -28748 [Ex.18], -1451 [Ex.19], -3503

  [Ex.20], -11469 [Ex.21]; -34501 [Ex.22]; -18081 [Ex.23]). As shown in the attached Chart, Ex. 2,

  none of these documents, standing alone without any admissible testimony (and TPS has none),

  suffice to prove the elements of TPS’s antitrust or false advertising claims. See Ex. 2: Chart. The

  Court would have to direct a verdict against TPS based on this insufficient prima facie case;

  therefore it should grant summary judgment now based on this evidence.

                          III.   SUMMARY JUDGMENT STANDARD

         “A motion for summary judgment serves the purpose of testing whether a trial is required.”

  Soucy v. Nova Guides, Inc., 2015 WL 5535347, at *3 (D. Colo. Sept. 21, 2015) (Hegarty, J.) (citing

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  Heideman v. South Salt Lake City, 348 F.3d 1182, 1185 (10th Cir. 2003)). “One of the principal

  purposes of the summary judgment rule is to isolate and dispose of factually unsupported claims.”

  Celotex Corp. v. Catrett, 477 U.S. 317, 323–24 (1986). A motion for summary judgment should

  be granted if the moving party demonstrates “that there is no genuine issue as to any material fact

  and that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

         Summary judgment must be entered “against a party who fails to make a showing sufficient

  to establish the existence of an element essential to that party’s case, and on which that party will

  bear the burden of proof at trial.” Celotex, 477 U.S. at 322. The moving party need not produce

  evidence affirmatively “negating the opponent’s claim,” but need only show an absence of

  evidence to support an essential element of the claim. Id. at 323. The non-moving party must then

  “respond with specific facts showing a genuine factual issue for trial.” Id. at 324.

         TPS’s opposition must point to specific facts showing “that there is a genuine issue for

  trial” (Fed. R. Civ. P. 56(e), advisory committee’s note to 1963 amendment), and not merely “that

  there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.

  Zenith Radio Corp., 475 U.S. 574, 586 (1986). The substance of the evidentiary material

  supporting these specific facts must be admissible at trial. See Thomas v. Int’l Bus. Machs., 48

  F.3d 478, 485 (10th Cir. 1995). Summary judgment is warranted if a non-moving party fails to

  direct the court to admissible evidence that shows the existence of a genuine issue of material fact.

  See Hoffmeister v. Navient, 2019 WL 1200812, at *7 (D. Colo. Mar. 14, 2019) (Hegarty, J.)

  (granting summary judgment because “[p]laintiff has failed to respond with specific facts showing

  a genuine factual issue for trial”); see also Fortt v. Artistic Beauty Coll., 2007 WL 2572356, at *3–



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  4 (D. Colo. Sept. 6, 2007) (Hegarty, J.) (“In the absence of any properly supported issues of

  material fact, summary judgment is required.”).

                                          IV.     ARGUMENT

  A.      TPS’s Tying Claim Fails as a Matter of Law Because TPS Cannot Point to Any
          Admissible Evidence Proving an Actual or Threatened “Tie.”

          TPS contends Johns Manville used its fiberglass pipe insulation or expanded perlite

  insulation as tying products to tie or threaten to tie sales of its calsil, the tied product. But TPS has

  no admissible evidence to prove these alleged tying arrangements existed.

          Recognizing this undisputed fact, TPS tries to dodge the structure for maintaining a proper

  tying claim, now arguing Johns Manville unlawfully tied sales of “any product other than calsil”

  or “any/all of its products” to sales of its calsil. Ex.1-A: TPS’s 2d. Supp. Resp. p. 9. This argument

  fails for three reasons: (1) a tying arrangement must involve two distinct products—vaguely

  claiming sales of “any” or “all” of Johns Manville’s products were tied to sales of calsil does not

  suffice; (2) there is no admissible evidence that Johns Manville tied sales of “any” or “all” of its

  products other than calsil to sales of its calsil (or on the condition that customers refrain from

  buying TPS’s calsil); and, (3) there is no admissible evidence showing that Johns Manville had

  market power in the markets for “any/all” of its products other than calsil.

          The Court should grant summary judgment dismissing TPS’s tying claim.

              1. The legal standard for tying under Sections 1 and 2 of the Sherman Act.

          “A tying arrangement is ‘an agreement by a party to sell one product but only on the

  condition that the buyer also purchases a different (or tied) product, or at least agrees that he will

  not purchase that product from any other supplier.’” Eastman Kodak Co. v. Image Tech. Servs.,

  Inc., 504 U.S. 451, 461–62 (1992) (quoting Northern Pacific R. Co. v. United States, 356 U.S. 1,
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  5–6 (1958)).    Tying arrangements do not necessarily run afoul of the Sherman Act—“the

  arrangement itself is only problematic when it is used to unreasonably restrain trade.” See Suture

  Express, Inc. v. Owens & Minor Distribution, Inc., 851 F.3d 1029, 1036 (10th Cir. 2017). “[T]he

  essential characteristic of an invalid tying arrangement lies in the seller’s exploitation of its control

  over the tying product to force the buyer into the purchase of a tied product that the buyer either

  did not want at all, or might have preferred to purchase elsewhere on different terms.” Id. (quoting

  Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 12 (1984), abrogated on other grounds by

  Illinois Tool Works Inc. v. Independent Ink, Inc., 547 U.S. 28, 31 (2006)).

          Tying claims can be analyzed as either per se or rule of reason claims.1 To establish a per

  se tying claim, the plaintiff must show:

          (1) two separate products are involved; (2) the sale or agreement to sell one product
          is conditioned on the purchase of the other; (3) the seller has sufficient economic
          power in the tying product market to enable it to restrain trade in the tied product
          market; and (4) a “not insubstantial” amount of interstate commerce in the tied
          product is affected.

  Suture Express, Inc., 851 F.3d at 1037. If a tying claim fails under a per se analysis, a court may—

  but does not have to—analyze the tying allegations under a rule of reason analysis, which requires

  that a plaintiff “prove ‘the actual effect of the [tying arrangement] on competition.’” In re: Cox

  Enterprises, 871 F.3d 1093, 1097 & n.2 (10th Cir. 2017) (quoting Jefferson Par., 466 U.S. at 29).


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      Tying cases have evolved and courts now recognize tying can have procompetitive effects.
  See, e.g., Jefferson Par., 466 U.S. at 12 (“Buyers often find package sales attractive; a seller’s
  decision to offer such packages can merely be an attempt to compete effectively—conduct that is
  entirely consistent with the Sherman Act.”). Thus, per se treatment of a tying claim is “a most
  peculiar per se rule” where the elements of the claim “capture much of what must be demonstrated
  in a rule of reason case.” Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 468 (7th Cir. 2020); see
  also Areeda & Hovenkamp, Fundamentals of Antitrust Law § 17.06[A] (4th ed. 2021) (describing
  the “Highly Idiosyncratic Per Se Rule” for tying).
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  As the Tenth Circuit has recognized, if a tying claim fails under “the more plaintiff-friendly per se

  analysis, it would also likely fail under the more demanding rule-of-reason analysis.” Id. at 1112

  & n.13.

         To prove a tying claim, a plaintiff must establish there was actually a “tying arrangement”

  between two distinct and separate products. See SolidFX, LLC v. Jeppesen Sanderson, Inc., 935

  F. Supp. 2d 1069, 1079 (D. Colo. 2013), aff’d, 841 F.3d 827 (10th Cir. 2016) (“For an illegal tie-

  in to exist, ‘purchases of the tying product must be conditioned upon purchases of a distinct tied

  product.’”); see also Jefferson Par., 466 U.S. at 18–19 (discussing the need to determine whether

  two separate products are involved in an alleged tie). “Showing that two products have been tied

  together is part of the plaintiff’s prima facie tying case under the per se rule as well as under the

  rule of reason.” Areeda & Hovenkamp, Fundamentals of Antitrust Law § 17.11[D] (2021).

         A tying claim cannot survive a summary judgment motion if there is no admissible

  evidence of a “tie” between two distinct products. For example, in SolidFX, LLC, the court granted

  summary judgment on a tying claim “[b]ecause [the p]laintiff has not shown that a purchaser was

  required to obtain the tied product . . . in order to be able to purchase the tying product.” 935 F.

  Supp. 2d at 1079. Likewise, in Beal Corp. Liquidating Trust v. Valleylab, Inc., 927 F. Supp. 1350,

  1368 (D. Colo. 1996), the court granted summary judgment, in part, because the plaintiff failed to

  put forth evidence that the defendant actually tied sales of its products.

             2. There is no admissible evidence to support the tying claim plead in the
                Amended Complaint.

         TPS has alleged that Johns Manville threatened or actually “tied” sales of fiberglass pipe

  insulation and expanded perlite (the “tying” products) to sales of its calsil (the “tied” product) by

  threatening to refuse to sell the “tying” products if distributors purchased calsil from TPS. See
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  ECF 30 ¶¶ 193, 196. But there is no admissible evidence that Johns Manville tied sales of either

  fiberglass pipe insulation or expanded perlite to sales of calsil. Tying requires proof of an

  agreement to tie; “no tie exists unless the customer was ‘coerced’ into taking both products.”

  Areeda & Hovenkamp, supra, § 17.01[D][1][I]; Chase Mfg., Inc. v. Johns Manville Corp., 2020

  WL 1433504, at *3 (D. Colo. Mar. 23, 2020) (noting agreement element). TPS has no claim for

  attempted or threatened tying.

         TPS has not pointed to a single document where Johns Manville conditions a sale of either

  fiberglass pipe insulation or expanded perlite on the purchase of Johns Manville’s calsil (or the

  refusal to purchase TPS calsil). And the depositions TPS took of two distributor representatives

  affirmatively refute any allegations of tying with respect to DI and 4 State. Mr. Hlavenka (DI)

  testified that Johns Manville did not threaten to refuse to sell either expanded perlite or fiberglass

  pipe insulation to DI. Statement of Undisputed Facts (“SUF”) ¶ 5. Mr. Guest (4-State) did not

  corroborate the existence of a tie—he testified that 4 State’s Omaha location did not buy perlite or

  fiberglass pipe insulation from Johns Manville. SUF ¶ 6. “[W]here the buyer is free to take either

  product by itself there is no tying problem . . . .” Northern Pacific Ry., 356 U.S. at 6 n.4.

         TPS has essentially conceded that it does not have any evidence that Johns Manville tied

  or threatened to tie sales of its fiberglass pipe insulation or expanded perlite to sales of calsil. In

  Johns Manville’s Interrogatory No. 9, TPS was asked to identify and describe each instance where

  Johns Manville allegedly threatened to not sell expanded perlite or fiberglass pipe insulation if a

  customer bought TPSX-12. See Ex. 1-A: TPS’s 2d. Supp. Resp., at 7. But TPS did not respond

  to that straightforward question about its own allegations, contending instead “the reality is that

  the nature of Johns Manville’s threats—and of the reports that TPS received of those threats—is

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  less explicit than the wording of this Interrogatory.” Id. at 8–9. That evasive response does not

  describe an unlawful tie-in, and TPS has yet to identify any instance when Johns Manville tied

  sales of its fiberglass pipe insulation or expanded perlite to its calsil. Id.

              3. TPS’s alternate argument that Johns Manville unlawfully tied calsil to sales of
                 any or all other products fails as a matter of fact and law.

          Because TPS cannot support the tying claim it plead, it changed its tune. TPS now argues

  Johns Manville threatened to tie sales of “any product other than calsil—or its agreement to sell

  any/all of its products—on the condition that the customer purchase JM calsil or refrain from

  purchasing TPS calsil.” Ex. 1-A: TPS’s 2d. Supp. Resp., at 9 (emphases added). But that is not a

  tie. It is axiomatic that unlawful tying requires two separate and distinct products. See, e.g.,

  Eastman Kodak Co., 504 U .S. at 462 (to defeat summary judgment motion in tying claim, plaintiff

  must show that two separate products were tied); Jefferson Par., 466 U.S. at 21 (“[A] tying

  arrangement cannot exist unless two separate product markets have been linked.”); Nobody in

  Particular Presents, Inc. v. Clear Channel Comm’ns, 311 F. Supp. 2d 1048, 1093–94 (D. Colo.

  2004) (two products—radio air play and concert promotion services); Four Corners Nephrology

  Assoc., P.C. v. Mercy Med. Ctr. of Durango, 2008 WL 2355533, at *3 (D. Colo. May 22, 2008)

  (two products—inpatient hospital dialysis services and nephrology physician services). TPS’s

  alternate argument fails as a matter of law because TPS has not pointed to two separate products

  involved in any alleged tying arrangement. See, e.g., Unijax, Inc. v. Champion Intern., Inc., 516

  F. Supp. 941, 949 (S.D.N.Y. 1981) (“Champion’s threat to Unijax that it would terminate all

  relationship [sic] with Unijax unless more Champion products were bought is not an illegal tying

  agreement.”).


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          Even if TPS could base its tying claim on the vague contention that Johns Manville

  impermissibly tied sales of “any” or “all” of its products to sales of calsil, there is no admissible

  evidence of such a “tie.” TPS identifies three instances of alleged “tying” in its interrogatory

  response, but cannot prove unlawful tying based on those instances. See Ex. 1-A: TPS’s 2d. Supp.

  Resp., at 9–11; SUF ¶¶ 6–8; Ex. 1-B: Chart. First, the documents do not indicate that Johns

  Manville refused to sell products to a distributor because it purchased from TPS, much less that

  any alleged threat or action by TPS had any impact on the purchasing decisions by the distributor.

  These documents, therefore, do not raise any disputed material fact regarding whether there was

  any actual or threatened tie. Second, the documents that TPS relies on contain inadmissible

  hearsay. See, e.g., Ex. 1-B: Chart; SUF ¶¶ 6–8. “Hearsay testimony that would not be admissible

  at trial is not sufficient to defeat a motion for summary judgment.” See Jaramillo v. Colo. Judicial

  Dep’t., 427 F.3d 1303, 1314 (10th Cir. 2005). Third, TPS failed to obtain deposition testimony

  from any of the distributors involved in the communications it relies upon, so there is no reliable

  record of what actually occurred.

          In addition, TPS cannot prove market power (economic power) in any tying product—an

  essential element of any claim for unlawful tying. TPS cannot (and has made no attempt to) show

  that Johns Manville had market power in the vaguely described market for “any product other than

  calsil” or “any/all of its products.” Cf. Marts v. Xerox, Inc., 77 F.3d 1109, 1112 (8th Cir. 1996)

  (analyzing whether there was a tie of warranties to the purchase of Xerox cartridges and stating

  “the identity of the tying product is somewhat unclear and assessing any anticompetitive effects of

  a warranty may be difficult”). TPS must prove Johns Manville has “sufficient economic power in

  the tying product [“any / all of its products”] to enable it to restrain trade in the tied product market

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  [calsil].” Suture Express, Inc., 851 F.3d at 1037 (discussing the elements of a per se tying claim);

  Chase Mfg., Inc., 2020 WL 1433504 at *3 (quoting Suture Express, Inc.). As the Supreme Court

  has stated, “the essential characteristic of an invalid tying arrangement lies in the seller’s

  exploitation of its control over the tying product to force the buyer into the purchase of a tied

  product that the buyer either did not want at all, or might have preferred to purchase elsewhere on

  different terms.” Jefferson Par., 466 U.S. at 12 (emphasis added). This requires showing that the

  seller has “market power” in the tying market.

          “Market power is the power ‘to force a purchaser to do something that he would not do in

  a competitive market’ and it “has been defined as ‘the ability of a single seller to raise price and

  restrict output.’” Eastman Kodak Co., 504 U.S. at 464 (citations omitted). Thus, under TPS’s

  vague theory that fails to define specific tying products, it must prove Johns Manville has market

  power over “any/all of its products” or “any product other than calsil.” See id. But TPS made no

  effort to establish that Johns Manville has market power in “any / all of its products.” Its economic

  expert (Warren-Boulton) failed to define any relevant product and geographic market at all, much

  less for any specific tying product. ECF 135 at 23–26.

                                                 *****

          TPS cannot prove the existence of a “tie” involving two distinct products, including

  expanded perlite or fiberglass pipe insulation. TPS’s alternative “any/all” argument also fails

  because TPS does not identify the tying products. Even if TPS could maintain this creative tying

  claim, there is no admissible evidence that any such “tie” occurred or proof that Johns Manville

  has market power in the relevant markets for “any/all of its products” or “any product other than

  calsil” (as the tying products) to be able to force customers to purchase its calsil (the tied product).

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  Thus, no trial is warranted on TPS’s tying claim, and the Court should enter summary judgment

  for Johns Manville.

     B. TPS’s False Advertising Claim Fails as a Matter of Law Because TPS Cannot
        Establish Critical Elements Required for a Lanham Act Claim.

         TPS alleges that Johns Manville violated the Lanham Act by falsely claiming that TPSX-

  12 is “poor quality,” “Chinese,” may not meet specifications, and that it may have “asbestos.”

  ECF 30 ¶¶ 163, 164, 173. There are at least four reasons why TPS’s Lanham Act claim fails, any

  one of which would be sufficient for summary judgment: (1) TPS has no admissible evidence that

  Johns Manville even made such statements; (2) statements like those TPS alleges are not

  actionable under the Lanham Act; (3) TPS cannot prove that any false or disparaging statement

  was disseminated to a sufficient portion of the relevant purchasing public to constitute

  “commercial advertising” or “promotion” under the Lanham Act; and (4) even if TPS could show

  false statements in commercial advertising or promotion (which it cannot), TPS cannot prove it

  was injured by any allegedly false statements.

         1.      The legal standard for false advertising under the Lanham Act.

         To sustain its false advertising claim under Section 43(a) of the Lanham Act, TPS must

  point to specific admissible evidence to support the following four elements:

         (1) that [the] defendant made material false or misleading representations of fact in
         connection with the commercial advertising or promotion of its product;
         (2) in commerce;
         (3) that are either likely to cause confusion or mistake as to (a) the origin,
         association or approval of the product with or by another, or (b) the characteristics
         of the goods or services; and
         (4) injure the plaintiff.



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  Chase Mfg., Inc., 2020 WL 1433504 at *15 (alteration in original) (emphasis added) (quoting

  Intermountain Stroke Ctr., Inc. v. Intermountain Health Care, Inc., 638 F. App’x. 778, 784 (10th

  Cir. 2016)).   In other words, a plaintiff “generally must establish . . . that the defendant’s

  commercial advertising contained a false or misleading representation of fact that was likely to

  cause confusion about the defendant’s products or services and that injured the plaintiff.” Gen.

  Steel Domestic Sales, LLC v. Chumley, 627 F. App’x 682, 684 (10th Cir. 2015) (emphasis added).

  Summary judgment is warranted if the plaintiff does not have sufficient evidence to establish even

  one of these elements. See, e.g., Wilson v. AdvisorLaw LLC, 2018 WL 4932088, at *4–5 (D. Colo.

  Oct. 11, 2018), aff’d, 780 F. App’x 649 (10th Cir. 2019) (granting summary judgment because

  plaintiffs failed to prove that the alleged false statements constituted “commercial advertising or

  promotion”); Berken v. Jude, 2013 WL 6152347, at *2 (D. Colo. Nov. 22, 2013) (granting

  summary judgment because plaintiff “failed to show that he has been or is likely to be injured as

  a result of Defendants’ misrepresentations”).

             2. There is no admissible evidence that Johns Manville made actionable false
                statements.

         TPS contends that Johns Manville made false statements about TPSX-12’s quality and how

  the product is manufactured in China, but this claim fails for at least two reasons. First, TPS has

  no admissible evidence to prove that any of the alleged false statements about TPSX-12’s origin,

  quality, or ability to meet specifications were even made. Second, TPS cannot prove that alleged

  comments regarding TPSX-12’s (true) origin are actionable under the Lanham Act.

         In order “[t]o show a qualifying false or misleading statement, a plaintiff must demonstrate

  that the defendant’s statement was either (1) literally false or (2) literally true or ambiguous but

  implicitly false, misleading in context, or likely to deceive.” Gen. Steel Domestic Sales, LLC, 627
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  F. App’x at 684. A statement is “literally false” if “it states that a product ‘has certain qualities

  that it in fact does not actually have,’” and it is “impliedly false” if it is “literally true or ambiguous”

  but “convey[s] a false impression or [is] misleading in context, as demonstrated by actual

  consumer confusion.” Vitamins Online, Inc. v. Heartwise, Inc., 2019 WL 6682313, at *9 (D. Utah

  Sept. 24, 2019) (citation omitted). Plaintiffs face a high burden when attempting to show that a

  statement is literally false “because ‘[o]nly an unambiguous message can be literally false.’” Id.

  (quoting Buetow v. A.L.S. Enterprises, Inc., 650 F.3d 1178, 1185 (8th Cir. 2011)). And as for

  implied falsity, to sustain a claim for false advertising under the Lanham Act plaintiffs must

  demonstrate there was actual consumer deception by identifying extrinsic evidence establishing

  that consumers were misled or confused by the statement. Id.

          No admissible evidence that these alleged statements were made. TPS has no admissible

  evidence that proves Johns Manville made any false or misleading statements about TPSX-12,

  including about where it is from or about its quality. In response to an interrogatory asking TPS

  to point to specific evidence supporting its Lanham Act claim, TPS cited email communications

  and text messages that repeat unreliable hearsay and vague recitations of statements purportedly

  made to two regional distributors. Ex.1-A: TPS’s 2d. Supp. Resp., at 5–7; Ex. 1-B: Chart. This

  “evidence” does not amount to commercial advertising. Ex.1-B: Chart.

          A trial is not warranted on TPS’s Lanham Act claim when its only “evidence” is

  unsubstantiated rumors. Indeed, three of the five instances of alleged disparagement that TPS

  describes in its interrogatory responses remain entirely speculative. For example, TPS contends

  that it was told by Mike Erhart (APi) that two unidentified contractors said that a Johns Manville

  representative suggested TPSX-12 might contain asbestos; that Kirk Chalmers (also APi)

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  “reported that an unidentified JM representative(s) was disparaging TPS” with unidentified

  comments on a project; and, that “unidentified JM representative(s) communicated to API that

  TPS calsil contains asbestos.” Ex.1-A: TPS’s 2d. Supp. Resp., at 5–7 (emphases added); Ex. 1-B:

  Chart, at rows 1, 3, 5.2

          Hearsay cannot “defeat summary judgment because ‘[a] third party’s description of [a

  witness’] supposed testimony is not suitable grist for the summary judgment mill.’” Thomas,, 48

  F.3d at 487 (alterations in original) (citation omitted). And for good reason. TPS contends that

  Mr. Erhart told Mr. Shong that Mr. Erhart heard from “two unidentified contractors” that Evan

  Stone (Johns Manville) suggested to “various unidentified market participants” that TPSX-12

  might have asbestos. Ex. 1-A: TPS’s 2d. Supp. Resp., at 5. This type of multi-layered hearsay—

  where the purported “source” of the statement is unknown—is precisely the type of hearsay that

  the Rules of Evidence has deemed unreliable, and therefore, inadmissible.            See Guidance

  Endodontics, LLC v. Dentsply Int’l, Inc., 663 F. Supp. 2d 1138, 1146–47 (D.N.M. 2009). The rest

  of TPS’s documentary evidence of Lanham Act violations fares no better. See Ex. 1-B: Chart, at

  rows 1–5.

          Additionally, neither Mr. Guest’s (4-State) nor Mr. Hlavenka’s (DI) testimony provide

  proof of an actionable false statement about TPSX-12. Mr. Hlavenka’s testimony regarding a

  comment to check the amount of “free silica” in TPSX-12 does not establish a valid false

  advertising claim. SUF ¶ 16. Mr. Guest testified that he did not hear any disparaging statements



   2
      As explained in Ex. 1-B, it appears that the alleged event described in row 1 is the same as the
  alleged event described in row 5. It thus seems that TPS’s interrogatory responses describe only
  four instances of alleged disparagement, rather than five.
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  from Mr. Meyer (Johns Manville), and a suggestion that Johns Manville customers confirm new

  products met specifications does not suffice. SUF ¶¶ 11–12; see also Wilco Trading LLC v.

  Shabat, 2021 WL 1146634, at *5 (M.D. Fla. Mar. 8, 2021) (rejecting Lanham Act claim for failing

  to adequately allege that that a defendant’s warning to its customers about possible counterfeits

  was “not false so long as any unauthorized dealer sold counterfeit . . . products” reasoning “the

  warning would only be literally false if no unauthorized dealers sold counterfeit . . . products”).

  Even TPS’s owner, Jeff Heckman recognized the importance of seeing silica tests for BEC’s

  calsil—to make sure it complied with OSHA worker safety standards—before he began importing

  calsil from BEC. See SUF ¶ 15.

         Statements that TPS calsil is from China are true and not actionable. In addition, any

  statements that TPS’s calsil is manufactured in China were true and are not actionable. TPS

  alleged that two representatives from Johns Manville, Mr. Meyer and Mr. Alley, called TPSX-12

  “Chinese.” See ECF 30 ¶ 173; Ex. 1-A: TPS’s 2d. Supp. Resp., at 5. Such statements, if made,

  were literally true. See SUF ¶ 9. There is nothing false or misleading about stating that TPSX-12

  is “Chinese.” TPS can only maintain a claim for false advertising if it can show these alleged

  comments were impliedly false, which requires extrinsic evidence to demonstrate that consumers

  were misled or confused by the allegedly false statement. See Vitamins Online, Inc., 2019 WL

  6682313, at *9–10.




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         TPS has no extrinsic evidence that proves that customers were confused or misled by any

  (alleged) comments that TPSX-12 is a Chinese product.3 Such evidence is typically presented in

  the form of consumer survey evidence, and “[p]laintiffs can make this showing by presenting

  extrinsic evidence that demonstrates a statistically significant part of the commercial audience

  holds the false belief allegedly communicated by the challenged advertisement.” Vincent v. Utah

  Plastic Surgery Soc’y, 621 F. App’x 546, 550 (10th Cir. 2015) (internal quotation marks omitted).

  TPS did not timely disclose expert opinions to support this argument. See ECF 135-6 (TPS Rule

  26(a)(2) disclosure). Indeed, the only expert retained by TPS does not even discuss the alleged

  Lanham Act violations. ECF 136 (Warren-Boulton report). Therefore, TPS cannot prove that “a

  statistically significant” portion of customers in the industrial insulation market held any false

  beliefs about TPSX-12 because of statements about its origin. See Vincent, 621 Fed. App’x at 550.

  Nor does TPS have any other admissible extrinsic evidence, such as documentary evidence or

  deposition testimony, to demonstrate that customers were confused or misled by true statements

  that TPSX-12 is “Chinese.”4 See Cottrell, Ltd. v. Biotrol Int’l, Inc., 191 F.3d 1248, 1252 (10th

  Cir. 1999) (“To assess the truth or falsity of these latter, more amorphous, misleading statements,



   3
      TPS cannot argue that the “free silica” comment was impliedly false because it does not have
  any admissible survey evidence to prove that this statement caused customer confusion. Instead,
  and as discussed in Section IV.B.2, infra, the only evidence of such a statement came from Mr.
  Hlavenka and his testimony suggests that he was not confused or misled by the (alleged) statement,
  and that he also did not view it as credible. Similarly, TPS did not disclose expert survey evidence
  to prove that customers were confused by any comments suggesting they confirm the calsil they
  purchase meets specifications, so such statements also cannot form the basis for a Lanham Act
  claim based on implied falsity.
   4
     In response to questions from TPS’s counsel, Mr. Guest of 4-State even testified that he does
  not “hear concerns about foreign made products” or “concerns about Chinese materials
  specifically.” SUF ¶ 11.
                                                  25
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  ‘the courts favor testing by consumer reaction surveys, but have also found falsity based on their

  own independent reaction and the reaction of witnesses testifying before the court, including

  testimony based on test results, consumer surveys, complaints received, allegations of more than

  a few instances of misrepresentation, and otherwise.’”) (citation omitted)).

         Without any evidence proving that a statistically significant number of the industrial

  insulation customers falsely believed that there were negative implications associated with TPSX-

  12 being manufactured in China, TPS cannot prove that these statements were impliedly false.

  The Court should therefore grant summary judgment dismissing TPS’s Lanham Act claims

  relating to allegedly false statements about TPSX-12’s origin. See, e.g., In re EpiPen (Epinephrine

  Injection, USP) Mktg., Sales Pracs. & Antitrust Litig., 507 F. Supp. 3d 1289, 1376–77 (D. Kan.

  2020) (granting summary judgment because “Mylan has failed to come forward with evidence

  presenting a triable issue about actual customer confusion”).

             3. TPS cannot prove that any allegedly false comments about TPSX-12 were
                made in connection with “commercial advertising” or “promotion.”

         Summary judgment is also warranted on TPS’s Lanham Act claim because TPS cannot

  establish that any allegedly disparaging statements were made in connection with “commercial

  advertising or promotion.” TPS has no evidence that any statements were disseminated to a

  sufficient portion of the relevant purchasing public.

         To be actionable under the Lanham Act, a statement must be made in connection with

  “commercial advertising or promotion.” 15 U.S.C. § 1125(a)(1)(B). The Tenth Circuit applies a

  four-part test to determine whether alleged false statements are “commercial advertising or

  promotion.” The statements must be: “(1) commercial speech; (2) by a defendant who is in

  commercial competition with plaintiff; (3) for the purpose of influencing consumers to buy
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  defendant’s goods or services;” and, “while the representations need not be made in a ‘classic

  advertising campaign,’ they “(4) must be disseminated sufficiently to the relevant purchasing

  public to constitute ‘advertising’ or ‘promotion’ within that industry.” Proctor & Gamble Co. v.

  Haugen, 222 F.3d 1262, 1273–74 (10th Cir. 2000); see also Wilson, 780 F. App’x at 651 (10th

  Cir. 2019) (same). The plaintiff must point to evidence demonstrating that the dissemination of

  the purportedly disparaging information “reach[ed] some significant number of actual or potential

  customers of the parties’ product” and cannot rest on vague contentions “as to how many human

  beings might have encountered the published material.” Wilson, 2018 WL 4932088, at *3 (citing

  Sports Unlimited Inc. v. Lankford Enters. Inc., 275 F.3d 996, 1003–04 (10th Cir. 2002) and Gen.

  Steel Domestic Sales LLC v. Chumley, 129 F. Supp. 3d 1158, 1175 (D. Colo. 2015)).

         The district court’s decision in Wilson is instructive. There, the plaintiffs, an attorney and

  his law firm, alleged a competitor violated the Lanham Act’s prohibition on false advertising by

  posting a false review about the plaintiffs on the website “ripoffreport.com.” 2018 WL 4932088,

  at *1. The defendants moved for summary judgment, contending the review was not “commercial

  advertising or promotion as a matter of law” because there is “no evidence that would establish

  that the [r]eview was sufficiently disseminated to the relevant purchasing public such that the

  industry would consider it advertising.” Id. at *3. The plaintiffs countered that the review was

  widely disseminated because ripoffreport.com had “millions of customers,” and the review was

  “quickly absorbed by search engines.” Id. at *4. The court agreed with the defendants. It rejected

  as conclusory the attorney’s testimony that it “seemed” like the plaintiffs had less new clients after

  the review was posted. Id. (“[T]he mere articulation of [the attorney’s] own conclusory assertion

  that the [r]eview was the cause of the [p]laintiffs’ client-acquisition woes is not sufficient to

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  demonstrate a triable issue of fact regarding the dissemination of the [r]eview.”). The court held

  “the [p]laintiffs have only come forward with a theory that the [r]eview was broadly disseminated

  to the [p]laintiffs[’] prospective customers and that it had a tendency to discourage those customers

  from retaining the [p]laintiffs, but they have not come forward with any particular proof that this

  is indeed what occurred.” Id. at *5. The Tenth Circuit affirmed, echoing the district court’s

  conclusions. See Wilson, 780 Fed. App’x at 653 (“Other than noting Ripoff Report’s general

  popularity and referring to general statistics about customers reading online reviews, . . . plaintiffs

  offer no evidence that the Review was disseminated in a manner that would reach prospective

  customers for their specific legal services or others within the industry . . . .”).

          Here, there is no admissible evidence in the discovery record confirming that a sufficient

  amount of the relevant purchasing public heard allegedly false statements from Johns Manville

  about TPS calsil. While TPS alleged that the “false and misleading statements were widely

  disseminated to multiple distributors in a market where five distributors control 85 percent of the

  market” and that it was “aware of multiple contractors to whom Johns Manville made these false

  and misleading statements, because those contractors raised the issue with their distributors”

  (ECF 30 ¶ 223), TPS has not substantiated those claims. There is, for example, no admissible

  evidence confirming that “multiple contractors” or “multiple distributors” heard false comments

  from Johns Manville about TPS calsil. See, e.g., SUF ¶¶ 10–11.5              TPS cannot fall back on



   5
      Indeed, all five of the alleged instances of false advertising TPS identified in its interrogatory
  response concerned only two small regional distributors—APi and 4-State—and four of the five
  instances relate to APi. SUF ¶¶ 10–11. Notably, TPS has not identified any instances of alleged
  false advertising involving representatives from SPI, General Insulation, Bay, or MacArthur. See,
  e.g., Ex. 1-A: TPS. 2d. Supp. Resp., at 5–7. And as discussed, (see Section IV.B.2 supra), neither

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  allegations in its complaint this late in the game. See Sports Unlimited, Inc., 275 F.3d at 1004

  (affirming grant of summary judgment and commenting “Plaintiff’s reliance on mere allegations

  at this stage of the litigation is ineffective”); In re EpiPen, 507 F. Supp. 3d at 1379 (granting

  summary judgment for failure to present a “triable issue of the widespread dissemination needed”

  and holding “[l]ike the Utah and Colorado courts, the court can’t find a genuine issue of

  dissemination based simply on speculation”).6

         At bottom, TPS only has a “theory” that the disparaging comments were circulated to a

  sufficient portion of the relevant market, but that is insufficient to withstand summary judgment.

  See Wilson, 2018 WL 4932088, at *3. Because TPS has not—and cannot—prove that any false

  statements were widely disseminated to a sufficient portion of the relevant purchasing public, TPS

  cannot establish that any false statements were made in connection with commercial advertising

  or promotion. TPS, therefore, cannot carry its burden of proving a critical element of the Lanham

  Act claim.

               4. There is no evidence that TPS was injured by any alleged false advertising.

         Even if a plaintiff establishes false or misleading statements that constituted commercial

  advertising or promotion, it must also demonstrate it was injured by the alleged disparagement.




  the comment regarding “free silica” to Mr. Hlavenka (DI) nor any suggestions that customers
  confirm calsil meets specifications is actionable.
   6
      Even though false statements “need not be made in a ‘classic advertising campaign’” to be
  deemed “commercial advertising” or “promotion,” the plaintiff still has to prove sufficient
  dissemination of the statements to the relevant purchasing public. Proctor & Gamble Co., 222
  F.3d at 1273–73. Here, the degree of formality of the alleged statements does not alter the analysis
  because TPS does not have any admissible evidence to establish that any false statements were
  sufficiently disseminated.
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  Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 140 (2014) (“To invoke the

  Lanham Act’s cause of action for false advertising, a plaintiff must plead (and ultimately prove)

  an injury to a commercial interest in sales or business reputation proximately caused by the

  defendant’s misrepresentations.”). There is no evidence that TPS was injured or lost any sales as

  a result of Johns Manville’s purported false advertising, which provides another basis to dismiss

  TPS’s Lanham Act claim.

         “To establish the injury element of a false advertising claim under the Lanham Act, a

  plaintiff ‘must show economic or reputational injury flowing directly from the deception wrought

  by the defendant’s advertising; and that that occurs when deception of consumers causes them to

  withhold trade from the plaintiff.’” Vitamins Online, Inc., 2019 WL 6682313, at *12 (citations

  omitted). Accordingly, a “plaintiff must provide evidence of ‘an injury proximately caused by the

  defendant’s misrepresentations.’” Id. Moreover, where, as here, the plaintiff is seeking monetary

  damages from alleged Lanham Act violations, there is a “‘heightened level of . . . proof of

  causation and specific injury’ . . . in order to ‘prevent the plaintiffs from receiving a windfall

  unrelated to their own damages.’” Id. (citations omitted).

         For example, in A.L.S. Enterprises, Inc. v. Robinson Outdoor Products, LLC, 2017 WL

  393307, at *3 (W.D. Mich. Jan. 30, 2017), the court granted judgment as a matter of law on a

  plaintiff’s false advertising claims in part due to the plaintiff’s failure to prove “that there was a

  causal link between th[e false advertising] and some harm.” In A.L.S. Enterprises, the plaintiff, a

  manufacturer of clothing designed to mask odors when hunting, alleged that the defendant, its

  competitor, made false statements about both parties’ products. Id. The court determined that the

  plaintiff failed to prove that it was harmed by either defendant’s literally false statements or its

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  literally true, but misleading statements. Id. at *3 n.4, 7. For both types of statements, the court

  concluded that the plaintiff’s proof of harm amounted to “inferences of causation based solely on

  the chronology of events” that “cannot alone establish a link to harm ‘where the record contains

  . . . other equally credible theories of causation.’” Id. at *3 n.4, *8 (citation omitted). The court

  also faulted the plaintiff for failing to obtain evidence from its customers—the retailers who bought

  and sold plaintiff’s products in their stores—regarding whether the defendant’s false advertising

  caused the retailers to refrain from purchasing plaintiff’s products. See id. at *8.

         Similarly, in In re EpiPen, the District of Kansas granted summary judgment on false

  advertising claims because the summary judgment record contained no evidence indicating the

  plaintiff sustained any harm from the alleged false advertising conduct. 507 F. Supp. 3d at 1381.

  In In re EpiPen (like here), the plaintiff’s experts did not undertake any analysis to determine the

  harm allegedly caused by the false or misleading statements. Id. at 1379–80. The plaintiff argued

  that it was entitled to a presumption of injury because the defendant made false comparative

  claims. Id. at 1380. The District of Kansas rejected that argument because the alleged false claims

  in that action—like the alleged false claims here—were not explicitly comparative. See id.

         TPS has failed to establish that any purported false representations proximately caused it

  any injury. Like the plaintiffs in A.L.S. Enterprises and In re EpiPen, TPS cannot point to any

  evidence in the record—including from the only two distributor-representatives to testify—

  proving that specific customers refused to buy TPSX-12 because of the alleged false advertising.

  See, e.g., SUF ¶¶ 11, 16; see also Verisign, Inc. v. XYZ.COM LLC, 848 F. 3d 292, 299 (4th Cir.

  2017) (upholding summary judgment dismissal because plaintiff “failed to establish . . . that it

  suffered an injury flowing directly from the challenged statements”). Similarly, TPS’s theory—

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  that its sales did not increase due to Johns Manville’s alleged misstatements several months after

  it entered the market—also suffers from the fatal flaw of relying on chronology to infer causation.

  The record contains “equally credible theories of causation,” A.L.S Enters., 2017 WL 393307, at

  *3 n.4, including that TPS’s initial sales strategy was flawed and that customers were hesitant to

  buy imported calsil from a small new entity. See SUF ¶ 26.

                                               *****

         In sum, because TPS cannot establish the elements required to maintain a Lanham Act

  claim, the Court should enter summary judgment dismissing it.

     C. TPS’s Monopolization Claim Fails as a Matter of Law Because TPS Cannot Prove
        Actionable Exclusionary Conduct.

         TPS claims that Johns Manville has maintained a monopoly in an alleged calsil product

  market that it has maintained through “exclusionary tactics” such as tying, refusals to supply calsil

  to customers who purchase from TPS, exclusive dealing, and product disparagement. ECF 30

  ¶ 204. The undisputed material facts, however, demonstrate that Johns Manville did not engage

  in any actionable exclusionary conduct.        Summary judgment should therefore be granted

  dismissing TPS’s monopolization claim.

           1.    The legal standard for monopolization under Section 2 of the Sherman Act.

         A plaintiff alleging a monopolization claim must prove three elements: “the first element

  is a ‘monopoly power in the relevant market’; the second is ‘willful acquisition or maintenance of

  this power through exclusionary conduct’; and the final element is ‘harm to competition.’” Chase

  Mfg, Inc., 2020 WL 1433504, at *9 (quoting Lenox MacLaren Surgical Corp. v. Medtronic, Inc.,

  762 F.3d 1114, 1119 (10th Cir. 2014)). When assessing whether a business has engaged in

  exclusionary conduct, the Tenth Circuit considers whether “the conduct at issue before [the court]
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  has little or no value beyond the capacity to protect the monopolist’s market power—bearing in

  mind the risk of false positives (and negatives) any determination on the question of liability might

  invite, and the limits on the administrative capacities of courts to police market terms and

  transactions.” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1072 (10th Cir. 2013); cf. JetAway

  Aviation, LLC v. Board of County Com’rs of Cty. of Montrose, Colo., 754 F.3d 824, 835 (10th Cir.

  2014) (Holmes, J., concurring) (“[T]he Sherman Act is not concerned with overly aggressive

  business practices . . . so as long as it does not unfairly harm competition.”).

         The federal antitrust laws are designed to protect—not foreclose—robust competition. As

  the material, undisputed facts show, TPS’s monopolization allegations seek to penalize Johns

  Manville for TPS’s own choice of business strategies and for doing nothing more than competing

  against TPS.

             2. No admissible evidence supports TPS’s exclusionary conduct allegations.

                 a.      Tying

         TPS has not distinguished the tying allegations in support of its monopoly claim and those

  in support of its stand-alone tying claim. As discussed in Section IV.A.2, supra, there is no

  admissible evidence that Johns Manville tied sales of expanded perlite, fiberglass pipe insulation,

  or any or all of its products to sales of calsil. Therefore, TPS’s tying allegations cannot support

  either TPS’s standalone tying claim or its monopolization claim.

                 b. Refusal to “Supply”

         TPS alleges that Johns Manville refused to supply distributors who purchased calsil from

  TPS, and that this constitutes exclusionary conduct. But refusals to supply (just a semantic




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  variation on refusals to deal) are only actionable in limited circumstances not present here, and

  there is no evidence that Johns Manville actually refused to supply calsil to any distributor.

          TPS made it clear to the Court that it is not pursuing a “refusal to deal” claim against Johns

  Manville, (see ECF 30 ¶ 125), and instead is arguing Johns Manville engaged in anticompetitive

  conduct by refusing to “supply” certain distributors. In its March 23, 2020 Order, the Court noted

  how, even though TPS identified the allegedly exclusionary conduct as a “refusal to supply,” it did

  not provide citations to case law discussing this type of exclusionary conduct. Chase Mfg., Inc.,

  2020 WL 1433504, at *11. The Court determined that “[b]ecause the alleged conduct appears as

  a variation on the traditional refusal to deal conduct,” it would look to the “refusal to deal” case

  law. Id. (“[T]he Court borrows from traditional refusal to deal case law in evaluating Plaintiff’s

  allegations.”). The same analysis should apply now as well.

          As a general rule, it is “rare” for liability to be imposed “when the monopolist engages in

  ‘purely unilateral’ conduct.” Novell, Inc., 731 F.3d at 1073 (quotations and citation omitted)

  (identifying predatory pricing as “notable and easy example”). That’s because “the proper focus

  of section 2 isn’t on protecting competitors but on protecting the process of competition with the

  interests of consumers, not competitors, in mind.” See id. at 1072. So, businesses generally have

  the right to choose which customers to deal with, or in this case, supply. Id. at 1074 (“[T]his sort

  of unilateral behavior—choosing whom to deal with and on what terms—is protected by the

  antitrust laws.”).

          There is a narrow exception to the general rule that a business is free to deal with, or sell

  to, whomever it wants, but TPS’s claims do not fit that exception. The Supreme Court summarized

  that exception in Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585 (1985). See

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  Novell, 731 F.3d at 1074 (“Refusal to deal doctrine’s high water mark came in Aspen.”); Verizon

  Comm’ns Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 409 (2004) (“Aspen Skiing

  is at or near the outer boundary of § 2 liability.”). In Aspen Skiing, the Court held that Aspen

  Skiing Co., which operated three of the four Aspen ski areas, violated Section 2 by refusing to

  continue working with the fourth ski area operator, Aspen Highlands, to sell a joint lift ticket

  providing access to all four areas that had been profitable for both parties. 472 U.S. at 593–94,

  609–10. In Trinko, the Court explained that, in Aspen, this “unilateral termination of a voluntary

  (and thus presumably profitable) course of dealing [that] suggested a willingness to forsake short-

  term profits to achieve an anticompetitive end” and the “defendant’s unwillingness to renew the

  ticket even if compensated at retail price [that] revealed a distinctly anticompetitive bent.” 540

  U.S. at 409.

         Interpreting these cases, the Tenth Circuit has held that there must be “at least two features

  present” for Aspen’s “limited exception” to the general rule against imposing liability for unilateral

  conduct to apply: (1) “there must be a preexisting voluntary and presumably profitable course of

  dealing between the monopolist and rival,” or customer; and, (2) “the monopolist’s discontinuation

  of the preexisting course of dealing must ‘suggest[] a willingness to forsake short-term profits to

  achieve an anti-competitive end.’” Novell, 731 F.3d at 1074–75 (quoting Trinko, 540 U.S. at 407).

         The limited and dated antitrust case law concerning a unilateral refusal to sell or supply to

  customers reflects similar reasoning as the refusal to deal cases. In Lorain Journal v. United States,

  342 U.S. 143, 152–55 (1951), the Supreme Court held that a newspaper violated Section 2 by

  refusing to sell advertising space to its (preexisting) customers if they purchased advertising space

  from the newspaper’s competitor, a radio station. As the Tenth Circuit recently recognized, “[i]t

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  [was] that refusal to sell advertising space ‘even if compensated at retail price’ that makes the

  conduct in Lorain Journal anticompetitive.” New Mexico Oncology & Hematology Consultants,

  Ltd. v. Presbyterian Healthcare Servs., 994 F.3d 1166, 1174 (10th Cir. 2021) (rejecting contention

  that defendant engaged in “‘coercive conduct against customers that the Supreme Court

  condemned in’ Lorain Journal”).

         Thus, for TPS to demonstrate Johns Manville engaged in exclusionary conduct by refusing

  to supply calsil to distributors, it must show that Johns Manville discontinued preexisting and

  profitable courses of dealing, and that Johns Manville did so for an anticompetitive purpose. See

  SOLIDFX, LLC v. Jeppersen Sanderson, Inc., 841 F.3d 827, 841 (10th Cir. 2016) (analyzing

  whether a refusal to deal violates Section 2 by applying “a two-part test”: “[f]irst we look at the

  effects of the monopolist’s conduct” and “[s]econd, we look at its motivation” (citation and

  quotations omitted)).

         The facts revealed through discovery do not support TPS’s refusal to supply claim. For

  example, TPS seeks to advocate for 4-State, a distributor with three warehouse locations in

  Nebraska and Kansas (Omaha, Lenexa/Kansas City, and Wichita), (SUF ¶ 18), that was allegedly

  “cut off” by Johns Manville. However, Mr. Guest of 4-State did not testify that Johns Manville

  refused to supply insulation materials to 4-State after discontinuing a pre-existing profitable

  relationship. Mr. Guest explained that 4-State has been able to purchase calsil from both TPS and

  Johns Manville since 2018. SUF ¶ 19. This does not qualify as an unlawful refusal to supply

  under Aspen and Trinko.

         The antitrust laws do not require Johns Manville to sell insulation materials to every branch

  of every distributor who seeks to deal with it. See Novell, 731 F.3d at 1072–73 (businesses are

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  free to choose with whom to deal). Indeed, it is procompetitive for manufacturers to work with a

  select group of distributors who agree to promote their brand or product. Cf. Leegin Creative

  Leather Prod. Inc. v. PSKS, Inc., 551 U.S. 877, 882 (2007) (no per se prohibition on vertical

  restraints between manufacturer and distributors; vertical price restraints can have procompetitive

  effects). As discussed in the undisputed facts, Johns Manville does not supply all of the branches

  or geographic locations of each distributor it works with. SUF ¶ 17. Instead, Johns Manville

  partners with a few distributors that will promote its insulation materials. Id. If a distributor is no

  longer promoting Johns Manville’s insulation materials, then Johns Manville may choose to

  partner with a different distributor in order to sell these products—and it has nothing to do with

  trying to keep other suppliers out of the market. Id.

         Nor does TPS have any admissible evidence that Johns Manville gave up short-term profits

  by discontinuing any of its preexisting and profitable relationships with distributors for the

  anticompetitive purpose of hurting TPS. See, e.g., SUF ¶¶ 19–21. And the communications that

  TPS cites as evidence of other purported instances of Johns Manville threatening to or actually

  refusing to sell calsil to various distributors only contain inadmissible hearsay, including from

  TPS’s own employees repeating these stories as part of their sales pitch to customers. See, e.g.,

  id.; Ex. 1-B. Likewise, the Johns Manville documents that TPS cited as proof of Johns Manville’s

  exclusionary conduct in its Opposition to Johns Manville’s Daubert motion do not establish that

  Johns Manville engaged in any unlawful refusals to supply distributors. SUF ¶ 27. Six of the

  seven documents cited are either internal Johns Manville documents or communications between

  Johns Manville representatives or its outside sales agent that do not prove that any distributor was

  actually “cut off” from accessing Johns Manville’s products. See id. (citing Ex. 2). As for the

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  email exchange between Evan Stone (Johns Manville) and DI representatives, Mr. Stone

  apologizes in a later email for the aggressive tone, which undercuts the conceivability of any

  “threats” to DI. See id. (citing TPS Ex. 23, ECF 172). TPS cannot rely on this evidence to prove

  that Johns Manville engaged in exclusionary conduct by refusing to supply any distributors when

  these documents contain either inadmissible hearsay or do not prove that exclusionary conduct

  actually occurred, and the evidence shows that Johns Manville continued to sell its calsil and other

  products to distributors. See id. at ¶¶ 19–21, 27.

                  c. Exclusive Dealing

           TPS contends Johns Manville engaged in exclusionary conduct by entering into exclusive

  dealing arrangements with distributors. This claim also fails. TPS has no evidence that Johns

  Manville had any express or implied exclusive dealing arrangements with any distributors, nor can

  TPS point to any evidence indicating it was substantially foreclosed from a relevant market by

  some implied exclusive dealing arrangement.

           “An exclusive dealing arrangement is ‘a contract between a manufacturer and a buyer

  that forbids the buyer from purchasing the contracted good from any other seller or that requires

  the buyer to take all of its needs in the contract good from that manufacturer.’”             In re

  EpiPen     (Epinephrine    Injection,   USP)     Mktg.,   Sales   Pracs.    &    Antitrust   Litig.,

  --- F. Supp. 3d ---, 2021 WL 2585065, at *61 (D. Kan. June 23, 2021) (citation omitted). This

  type of arrangement “doesn’t violate the antitrust laws simply because it excludes competitors.”

  Id. “Indeed, ‘[e]xclusive dealing agreements are often entered into for entirely procompetitive

  reasons, and generally pose little threat to competition.’” Id. (alteration in original) (citing ZF

  Meritor, LLC v. Eaton Corp., 696 F.3d 254, 270 (3rd Cir. 2012)). Because exclusive dealing

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  arrangements can advance competition in a market, they are not per se illegal and are analyzed

  under the rule of reason. Id. “Exclusive dealing arrangements are not unlawful in the absence of

  anticompetitive effects.” Crocs, Inc. v. Effervescent, Inc., 248 F. Supp. 3d 1040, 1057 (D. Colo.

  2017); see also United States v. Microsoft Corp., 253 F.3d 34, 69 (D.C. Cir. 2001) (“Permitting an

  antitrust action to proceed any time a firm enters into an exclusive deal would both discourage a

  presumptively legitimate business practice and encourage costly antitrust actions.”).

         For an exclusive dealing arrangement to be unlawful the plaintiff must prove the

  “‘exclusive dealing arrangements foreclose competition in a substantial share of the line of

  commerce affected’” and there are “anticompetitive effects resulting from ‘a substantial

  foreclosure of their ability to compete in the relevant market.’” Chase Mfg., 2020 WL 1433504,

  at *11 (citations omitted). A plaintiff must demonstrate that a significant share of the market is

  foreclosed, “because, for the contract to have an adverse effect upon competition, ‘the

  opportunities for other traders to enter into or remain in that market must be significantly limited.’”

  Microsoft, 253 F.3d at 69. In ZF Meritor, the Third Circuit identified a number of factors that

  courts consider when assessing the legality of an exclusive dealing arrangement: (1) “a showing

  of significant market power by the defendant,” (2) “substantial foreclosure,” (3) “contracts of

  sufficient duration to prevent meaningful competition by rivals,” (4) “an analysis of likely or actual

  anticompetitive effects considered in light of any procompetitive effects,” (5) whether the

  defendant “engaged in coercive behavior,” (6) “the ability of customers to terminate the

  agreements,” and (7) whether the defendant’s competitors also utilize exclusive dealing. 696 F.3d

  at 271–72 (citations omitted); see also In re EpiPen, 2021 WL 2585065, at *62 n. 59 (recognizing

  that the Tenth Circuit has not “articulated” its own factors to analyze an exclusive dealing

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  arrangement and “predict[ing] that the Tenth Circuit, if presented with this question, would apply

  the ZF Meritor factors” to the arrangements at issue).

         Johns Manville does not have written exclusive contracts with distributors, so TPS cannot

  identify any. SUF ¶ 22. Though a plaintiff may not necessarily have to prove an actual agreement

  for exclusive dealing under Section 2, (ZF Meritor, 696 F.3d at 270 n.10), that does not relieve

  plaintiffs from their burden of establishing that the defendant required third-parties to deal

  exclusively. There is also no admissible evidence that Johns Manville required distributors to only

  purchase its calsil through implied or de facto exclusive dealing, or what the conditions of such an

  implied arrangement even were. See SUF ¶¶ 23, 27; see also Section IV.C.2.b supra. Without

  this evidence, the Court cannot assess the legality of any (alleged) de facto exclusive dealing

  arrangement. Cf. Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1181–83 (9th Cir.

  2016) (affirming summary judgment on a Section 1 exclusive dealing claim and noting “[t]he ‘de

  facto’ exclusive dealing theory does not provide [Plaintiff] an end run around the obligation to first

  show that express or implied contractual terms in fact substantially foreclosed dealing with a

  competitor for the same good or service”).

         Furthermore, as explained in Johns Manville’s Daubert motion, TPS’s economist, Warren-

  Boulton, did not define any relevant product or geographic market, much less calculate a

  substantial degree of foreclosure in some relevant market; instead Warren-Boulton just asserts

  conclusion of “potential harm to competition” arguing distributors have a “strong incentive” to

  purchase from Johns Manville. See ECF 135 at 23–26. Without a properly defined product or

  geographic market, the jury here cannot assess whether there was “substantial foreclosure” of

  competition in a relevant market. “Though what is ‘significant’ may vary depending upon the

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  antitrust provision under which an exclusive deal is challenged, it is clear that in all cases the

  plaintiff must both define the relevant market and prove the degree of foreclosure.” Microsoft, 253

  F.3d at 69 (emphases added).

         Without any admissible evidence to prove that Johns Manville required distributors to enter

  into any exclusive dealing arrangements, and without a properly defined relevant product or

  geographic market or proof of substantial foreclosure in a relevant market, TPS’s exclusive dealing

  claim necessarily fails as a matter of law.

                 d. Allegedly disparaging comments.

         TPS relies on the same allegations of false advertising to contend Johns Manville engaged

  in exclusionary conduct by making disparaging statements about TPS calsil. See supra Section

  IV.B. This theory of Section 2 liability fails for two reasons. First, TPS has no admissible evidence

  to establish that the instances of product disparagement described in its Complaint and responses

  to Johns Manville’s interrogatories even happened. And second, TPS cannot overcome the

  presumption that the effect of any allegedly disparaging comments on competition is de minimis

  because TPS was able to easily neutralize any (alleged) statements with its own product data and

  testing, and because there is no evidence that the statements were clearly likely to induce

  reasonable customer reliance or continued for a prolonged period of time.

         For disparaging statements to prove monopolization, there must be “‘a preliminary

  showing of significant and more-than-temporary harmful effects on competition (and not merely

  upon a competitor or customer)’ before these practices can rise to the level of exclusionary

  conduct.” See Am. Pro. Testing Serv. v. Harcourt Brace Jovanovich Legal & Pro. Publications,

  Inc., 108 F.3d 1147, 1151 (9th Cir. 1997) (quoting 3 P. Areeda & D. Turner, Antitrust Law ¶ 737b

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  at 278 (1978)). Therefore, “[t]o prove that product disparagement rises to the level of exclusionary

  conduct, the disparagement must overcome the presumption that the effect on competition is de

  minimis.’” Chase Mfg., 2020 WL 1433504, at *12 (quoting Lenox MacLaren Surgical Corp. v.

  Medtronic, Inc., 762 F.3d 1114, 1127 (10th Cir. 2014)). To “rebut this presumption,” TPS must

  “satisfy[] a six-factor test, showing that the disparagement was: (1) clearly false, (2) clearly

  material, (3) clearly likely to induce reasonable reliance, (4) made to buyers without knowledge of

  the subject matter, (5) continued for prolonged periods, and (6) not readily susceptible to

  neutralization or other offset by rivals.” Lenox, 762 F.3d at 1127. Where, like here, the plaintiff

  claims that disparaging comments were directed at a single competitor, findings of an antitrust

  violation are strongly disfavored and “should presumptively be ignored.” See Harcourt Brace,

  108 F.3d at 1152 (quotations and citation omitted).

         First, and as discussed supra Section IV.B.2, TPS lacks admissible evidence to support its

  claims that Johns Manville made false or misleading statements about TPS or its calsil.

  Additionally, and as discussed, several alleged misstatements are missing crucial information that

  would allow the factfinder to assess whether these statements were even made, let alone whether

  they satisfy the six-part test to rebut the de minimis presumption.

         Second, even if TPS could establish that Johns Manville made disparaging comments about

  it or its calsil, TPS cannot rebut the de minimis standard that applies to disparaging statements.

  The record shows that any purportedly disparaging comments about TPS’s calsil were readily

  susceptible to neutralization, as Jesse Revesz of TPS explained. See SUF ¶ 14 (citing Ex. 3-E:

  Revesz Depo. 197:4–9). Mr. Revesz was asked directly whether “once you sent the testing records,

  was it easy to neutralize any alleged rumor about your product having asbestos?” to which he

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  responded “Absolutely.” Id. (citing Ex. 3-E: Revesz Depo. 197:10–14). Mr. Hlavenka’s (DI)

  testimony was similar. He testified that he was warned that there could be an issue with the amount

  of “free silica” (not asbestos) in TPSX-12, but he then spoke with Mr. Shong about TPSX-12 who

  provided “spec sheets showing that it met all the ASTMs and everything else” and after confirming

  this, DI purchased TPS’s calsil. SUF ¶ 16 (citing Ex. 3-C: Hlavenka Depo. 41:9–24, 42:20–25,

  72:8–73:19). The TPSX-12 data sheet explains that it is “[t]hird party verified to meet or exceed

  all physical property requirements in accordance with ASTM C533 Type 1”; it “does not contain

  asbestos, mercury, or lead,”; and it “is produced with amorphous silica, not crystalline silica which

  is subject to OSHA exposure limits.” See SUF ¶ 13 (citing Ex. 3-F.i: Shong Depo. Exhibit 127

  (TPSX-12 Data Sheet)).

         In addition, there is no evidence that the allegedly disparaging statements were likely to

  induce customers to reasonably rely on these statements. For one, these alleged comments came

  from TPS’s competitor, Johns Manville, and there is no evidence that prospective customers

  attached much (if any) credibility to Johns Manville’s statements about TPSX-12. Cf. Harcourt

  Brace, 108 F.3d at 1151 (“[B]uyer distrust of a seller’s disparaging comments about a rival seller

  should caution us against attaching much weight to isolated examples of disparagement . . . .”

  (citation omitted)). Mr. Hlavenka’s testimony suggests that he put little stock in the warning he

  purportedly received about the possibility of TPS’s calsil having free silica. Mr. Hlavenka recalled

  that he “thought [the comment] was kind of funny because JM – the TPS plant is the old JM plant

  that they were importing from for years. So, I mean, I didn’t really understand it, you know.” See

  SUF ¶ 16 (citing Ex. 3-D: Hlavenka Depo. 41:11–18). And as discussed, any alleged effect of this



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  statement was neutralized by Mr. Shong providing Mr. Hlavenka with TPSX-12’s data sheet. Id.

  (citing Ex. 3-D: Hlavenka Depo. 42:20–25, 72:8–73:19).

         TPS also has no evidence that any of these allegedly disparaging statements continued for

  prolonged periods and affected demand for a prolonged period. It is not clear when TPS contends

  the alleged disparaging comments were made. But based on TPS’s supplemental interrogatory

  response and the dates of the documents cited therein and Mr. Hlavenka’s testimony, the alleged

  instances of disparaging statements occurred between March and October 2018. SUF ¶¶ 10–11,

  16. Actionable disparagement cannot be sporadic like this. In TYR Sport, Inc. v. Warnaco

  Swimwear, Inc., 709 F. Supp. 2d 821, 837 (C.D. Cal. 2010), the district court rejected the plaintiff’s

  claim that disparaging comments constituted exclusionary conduct, reasoning that even if the five

  alleged false statements were deemed actionable, the plaintiff failed to prove the statements

  occurred for a prolonged period. The court reasoned “[f]ive sporadic statements spread out over

  the course of more than a year are not the sort of systematic advertising capable of significantly

  affecting competition.” Id. at 838. Likewise, the allegations here—which amount to four

  “sporadic statements” over the course of several months to two regional distributors and one

  alleged statement that was easily neutralized—do not meet the (onerous) standard of establishing

  disparaging comments constituted exclusionary conduct. SUF ¶¶ 10–11, 16.

         In sum, TPS has no admissible evidence that any disparaging comments were made, and

  also cannot overcome the presumption that any allegedly disparaging comments about its calsil

  had a de minimis effect on competition to constitute exclusionary conduct. Therefore, allegedly

  disparaging comments about TPS’s calsil cannot support TPS’s monopolization claim.



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     D. TPS Cannot Prove Any Long-Term Anticompetitive Effects to Competition, an
        Essential Part of Proving Antitrust Injury at Trial.

         TPS lacks evidence to prove antitrust injury—an essential element of its antitrust claims.

  TPS and its retained economist cannot point to any specific instance in which competition was

  actually harmed as a result of any unlawful action by Johns Manville. They cannot even identify

  a specific instance in which an insulation distributor or contractor refused to purchase TPS calsil—

  which might support economic harm to TPS (a competitor), but not actual, sustained harm to

  competition. Rather than identify actual harm to competition, TPS’s retained expert (Warren-

  Boulton) speculates only that future harm could occur, stating that he thinks “[i]t is reasonable to

  think that, prior to trial, market participants . . . anticipate that Johns Manville will resume the

  challenged conduct if it prevails at trial.” ECF 136 at 22. Warren-Boulton specifically declines

  to analyze any specific unlawful actions. Instead, he says he “understand[s]” TPS will provide

  evidence at trial of “Johns Manville’s taking adverse action against customers who did business

  with” TPS, which he “understand[s]” will show “that this action caused customers to abstain from

  doing business with” TPS. ECF 136 at 19.

         To prove antitrust injury at trial, TPS “must show the challenged restraint actually injured

  competition, not merely a competitor.” Suture Express, Inc., 851 F.3d at 1044. As part of that

  inquiry, the court must look carefully at the plaintiff’s evidence to see “whether it was really

  competition that was harmed instead of simply one competitor.” Id. at 1045.

         “It is well established law that the anti-competitive conduct that violates the Sherman Act

  must have more than a temporary effect on the market.” JetAway Aviation, LLC v. Board of County

  Comm., 2012 WL 1044304 (D. Colo. Mar. 28, 2012) (Matsch, J.) at *4, 6 (granting summary

  judgment dismissing monopolization claim), aff’d in part, appeal dismissed in part, 754 F.3d at
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  825–26 (per curiam) (“[B]oth judges conclude that the district court’s decision should be affirmed

  on the ground that JetAway [the plaintiff] has failed to establish an antitrust injury and,

  consequently, lacks antitrust standing to bring this action.”).7 Accordingly, an antitrust plaintiff

  has the “burden of demonstrating significant anticompetitive effect” in the alleged market.

  Buccaneer Energy (USA) Inc. v. Gunnison Energy Corp., 846 F.3d 1297, 1317, 1319–20 (10th

  Cir. 2017) (affirming district court’s grant of summary judgment dismissing claims for lack of

  facts from which jury could find harm to competition in a defined market); see also Jefferson Par.,

  466 U.S. at 16 (“[A]s a threshold matter there must be a substantial potential for impact on

  competition in order to justify per se condemnation. If only a single purchaser were ‘forced’ with

  respect to the purchase of a tied item, the resultant impact on competition would not be sufficient

  to warrant the concern of antitrust law.”).

         Circuit Judge Holmes’ concurring opinion in JetAway summarized in detail the case law

  holding that isolated, short-term instances of lost business by a competitor do not suffice to prove

  antitrust injury. 754 F.3d at 840–42. Citing Ninth and Tenth Circuit decisions, he explained that

  courts have “disregarded temporary anticompetitive effects” and there must be “significant and

  more-than-temporary harmful effects on competition.” 754 F.3d at 841 (Holmes, J. concurring)

  (quotations and citations omitted). Relying on the Supreme Court and other cases, his concurring

  opinion further explained that the Sherman Act “is concerned only with conduct that has long-run



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      Circuit Judge Holloway was part of the JetAway panel reviewing Judge Matsch’s dismissal of
  antitrust claims in part due to the lack of antitrust injury, but he died after the case was argued.
  754 F.3d at 825 & n.*–826. The two remaining judges agreed on a joint per curiam decision, with
  each writing separately to discuss their reasons for finding no antitrust injury. 753 F.3d at 827–55
  (Holmes, J. concurring); Id. at 855–63 (Tymkovich, J. concurring).
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  anti-competitive effects” and “if the effect on competition is not more than temporary or transitory,

  it is of no concern to the antitrust laws.” Id. at 841–42 (quotations and citations omitted). While

  Judge Tymkovich’s separate concurrence disagreed with how Judge Holmes applied these

  principles to the facts at issue (e.g., substituting one monopoly for another), Judge Tymkovich

  agreed with affirming the district court’s opinion that the plaintiff failed to state a valid antitrust

  injury. Id. at 855–56, 859–63 (Tymkovich, J. concurring).

         “The law directs itself not against conduct which is competitive, even severely so, but

  against conduct which unfairly tends to destroy competition itself.” Suture Express, Inc., 851 F.3d

  at 1045 (quotations omitted). As part of proving antitrust injury, the antitrust plaintiff must show

  a direct causal connection between that injury and a defendant’s violation of the antitrust laws.

  See Belnap v. Steward Health Care System LLC, 2020 WL 619402 at *3–4 (D. Utah Feb. 10, 2020)

  (dismissing an antitrust claim arising from denial of privileges of one surgeon at one hospital

  because it will not have anticompetitive effect on the relevant market).

         To date, TPS has relied on mere allegations of alleged threats and lost business. But the

  Undisputed Facts above show that TPS cannot prove any actual long-term harm to competition.

  Instead, TPS succeeded with getting distributors to purchase TPS calsil between 2018–2020

  despite TPS’s mistakes, including its aggressive go-to-market strategy, which incorrectly assumed

  large distributors would immediately sign its exclusive distribution—a strategy TPS’s President

  (Mr. Shong) admitted was “naïve.” SUF ¶¶ 25–26. TPS’s progress selling to distributors was

  stopped by the closure of its supplier’s factory in China, with no replacement factory in place, for

  virtually all of 2021. SUF ¶ 10. TPS cannot blame Johns Manville for that significant problem.



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         TPS’s theory of injury is too remote to constitute long-term anticompetitive effects to

  competition. Any actual long-term impact on competition is speculative. Therefore, the Court

  should also dismiss TPS’s antitrust claims because it cannot prove antitrust injury.

                                        V.    CONCLUSION

         If the purpose of a summary judgment motion is to “test[] whether a trial is required,” then

  TPS’s claims have failed. Soucy, 2015 WL 5535347, at *3 (D. Colo. Sept. 21, 2015). After over

  two years of fact and expert discovery, the production of more than 100,000 pages of documents,

  and 15 depositions of party and non-party witnesses, TPS still cannot prove its antitrust and

  Lanham Act claims. The Court should grant summary judgment dismissing all of TPS’s claims:

  for tying, false advertising, and monopolization.

         Dated: February 1, 2022.

                                               Respectfully submitted,

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  Defendant’s Exhibits
  1.    TPS Hearsay Documents
        A.     TPS Second Supplemental Interrogatory Responses to Interrogatory Nos. 8, 9, 10
               (highlighted) (August 13, 2021): providing court-ordered narrative explaining
               some of TPS’s claims.
        B.     Chart (explaining why documents TPS identifies in interrogatory responses all
               constitute inadmissible hearsay) : Restricted Level 1 because TPS designated
               these documents as “Confidential-Attorneys Eyes Only.”
        C.     Compilation of TPS documents cited in its interrogatory responses, which are
               reviewed in Chart: Restricted Level 1 because TPS designated these documents
               as “Confidential-Attorneys Eyes Only.”
               Starting Bates number of TPS documents are:
               TPS-4338, -5012, -8515, -10896, -10949, -10967, -11468, -11469, -11837, -
               13532, -14550, -15169, -31748;
               TPS_FTC-24, -29,-38, -39, -41, -49, -51, 108.
  2.    TPS Prima Facie Case Chart (chart summarizing seven Johns Manville documents TPS
        relies on for its prima facie case: TPS previously filed the underlying documents in
        opposition to Johns Manville’s Daubert motion as TPS Ex. 17–23, ECF 166–172).
  3.    Deposition Excerpts for:
        A.     Joseph Guest (4-State Supply distributor): Restricted Level 1: because 4-State’s
               counsel designated some pages as “Confidential-Attorneys Eyes Only.”
        B.     Jeffrey Heckman (TPS)
        C.     Robert Hlavenka (Distribution International): Certain information on page 90
               lines:5, 12-14, 19 redacted to omit confidential information.
        D.     Chad Meyer (Johns Manville).
        E.     Jesse Revesz (TPS): Restricted Level 1: because TPS’s counsel designated
               pages 194:1–21, 195:4–11, 20–24, 197:5–9 as “Confidential-Attorneys Eyes
               Only.”
               i.        Depo. Ex. 6 (Revesz exhibit): TPSX-12 Launch Announcement.
        F.     David Shong (TPS): August 16, 2021, as TPS corporate representative: Certain
               information on page 96 lines 16–18, 21–23 redacted to omit information TPS
               designated as “Confidential—Attorneys Eyes Only.”
               i.        Depo. Ex. 127 (Shong exhibit): TPSX-12 Data Sheet data sheet on TPS
                         calsil.
        G.     David Skelly (Johns Manville); July 23, 2021:


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        H.    David Skelly (Johns Manville): August 25, 2021, as Johns Manville corporate
              representative:
  4.    Other Exhibits:
        A.    Declaration of David C. Skelly (Johns Manville) dated January 29, 2022.
        B.    TPS and BEC website posts.
              i.     TPS Blog Post: New BEC Calsil Factory Now Open, http://calsil-
                     insulation.com/new-bec-calsil-factory-now-open/ (Dec. 30, 2021).
              ii.    BEC Industrial Insulation, Safety Data Sheet, Material Name: Calcium
                     Silicate Insulation, https://tps-industrial-insulations.com/wp-
                     content/uploads/2020/05/SDS-TPSX-12-Calcium-Silicate-Insulation.pdf
                     (May 30, 2017).
              iii.   TPS Technical Bulletin/Industrial Data Sheet: TPSX-12 Calcium Silicate-
                     Third Party Test Results (comparing TPSX-12 to the “incumbent North
                     American brand” calsil) https://tps-industrial-insulations.com/wp-
                     content/uploads/2020/07/TPS-Technical-Bulletin-100-7-20.pdf (July
                     2020).




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on February 1, 2022, I electronically filed JOHNS MANVILLE’S
  MOTION FOR SUMMARY JUDGMENT DISMISSING ALL PLAINTIFF’S CLAIMS with
  the Clerk of Court using the CM/ECF system. A copy of this document was served on the
  following counsel of record for Plaintiff through the Court’s ECF system:


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